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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                           SENIOR JUDGE JOHN L. KANE


Courtroom Deputy: Bernique Abiakam                      Date: July 18, 2018
Court Reporter: Terri Lindblom
Probation Officer: Andrea L. Bell
Interpreters: Irina Kamensky
              Tatiana Dautkhanova

Criminal Action No.: 12-cr-00033-JLK-2

Parties:                                                Counsel:

UNITED STATES OF AMERICA,                               Gregory A. Holloway
                                                        Julia K. Martinez
       Plaintiff,

v.

2.     BAKHTIYOR JUMAEV,                                David B. Savitz
                                                        Mitchell Baker
       Defendant.


                                SENTENCING MINUTES


10:01 a.m.     Court in session.

Court calls case. Appearances of counsel. Defendant present in custody.

Jury Trial:

Defendant found guilty as to Counts One and Two of the Second Superseding
Indictment.

Parties received and reviewed the presentence report.

10:04 a.m.     Statement read by the Court.

The Government, defense counsel, and defendant were given an opportunity to make
statements before sentencing.

10:22 a.m.     Statement by Mr. Holloway (Government counsel).
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10:32 a.m.          Statement by Mr. Savitz (defense counsel).

11:02 a.m.          Court in recess.

11:08 a.m.          Court in session.

Continued statement by Mr. Savitz.

Request by Mr. Savitz that the Court sends the RECOMMENDATION to the
Department of Justice, through its Department of Homeland Security and
Immigration Customs, that the Defense counsel be kept informed of Mr. Jumaev’s
whereabouts during his immigration process.

11:14 a.m.          Further statement by Mr. Holloway.

11:16 a.m.          Statement by Mr. Jumaev (Defendant).

11:25 a.m.          Comments by the Court.

ORDERED: The Probation Department shall maintain a constant understanding
         of where the Defendant, Mr. Jumaev, is, what institution he might be
         in, and make that available information, upon inquiry from the
         prosecution, defense, or from this Court.

11:29 a.m.          Court in recess.

1:32 a.m.           Court in session.

Comments and rulings by the Court.

THE DEFENDANT IS SENTENCED AS FOLLOWS:

IMPRISONMENT:
Defendant is sentenced as to Counts One and Two to a term of imprisonment of time
already served - (a total of 76 months, 3 days).

SUPERVISED RELEASE:
Upon release from imprisonment, defendant shall be placed on supervised release for a
period of 10 years.



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Conditions of supervised release:
      (X)   If not deported, within 72 hours of release from the custody of the Bureau
            of Prisons, Defendant shall report in person to the Probation Office in the
            district to which the Defendant is released.

FINE:
No fine is imposed because the defendant has no ability to pay a fine.

SPECIAL ASSESSMENT FEE:
Defendant shall pay a Special Assessment Fee of $ 200.00, due immediately.

Defendant is advised of the right to appeal.

ORDERED: Defendant is remanded to the custody of the United States Marshal for the
         District of Colorado.

1:55 p.m.      Court in recess.
Hearing concluded.
Total in-court time: 1 hour, 45 minutes.




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